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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 GALVESTON DIVISION

ABS-CBN CORPORATION, et al.,                   §
                                               §
           Plaintiffs,                         §
                                               §
V.                                             §    CASE NO. 3:19-cv-00397
                                               §
ANTHONY BROWN,                                 §
                                               §
          Defendant.                           §

       PLAINTIFFS’ SECOND AMENDED DISCOVERY/CASE MANAGEMENT PLAN

TO THE HONORABLE UNITED STATES MAGISTRATE JUDGE:

           Pursuant to the Court’s Order for Conference and Disclosure of Interested Parties

[Dkt. 5] and Order entered July 14, 2020 [Dkt. 17], plaintiffs ABS-CBN Corporation,

ABS-CBN Film Productions, Inc. d/b/a Star Cinema, and ABS-CBN International

(collectively, “ABS-CBN” or “Plaintiffs”) file this Second Amended Discovery/Case

Management Plan (“Plan), and would respectfully show the Court as follows:

                                  1. Defendant is in Default

           1.     This case involves the theft of federally protected communications, and

federal trademark infringement and counterfeiting. Specifically, on December 5, 2019,

ABS-CBN filed this action against the defendant, Anthony Brown [a/k/a Tony Brown

and Ann Ong, and d/b/a 1700 Cuts Technology and Life for Greatness] (“Defendant”),

for the unauthorized reception of communications services, the sale of unlawful devices

that enable such reception, and federal trademark counterfeiting and infringement under

47 U.S.C. § 605(a) and (e)(4), 15 U.S.C. §§ 1114 and 1116, and The All Writs Act, 28

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U.S.C. § 1651(a) (collectively the “Federal Claims”), and Section 134.002 of the Texas

Civil Practice & Remedies Code, which incorporates Section 31.12 of the Texas Penal

Code (the “State Claim”). See Plaintiffs’ Complaint [Dkt. 1].

        2.     On January 9, 2020, the Defendant was duly served with process in

accordance with the Court’s Order authorizing substitute service [Dkt. 8]. See Plaintiffs’

Proof of Service on Defendant Anthony Brown [Dkt. 9]. Though his answer was due by

January 30, 2019, the Defendant failed to timely answer or otherwise respond to

Plaintiffs’ Complaint. Consequently, ABS-CBN requested that the Clerk of this Court

enter a default against the Defendant pursuant to Rule 55(a) of the Federal Rules of Civil

Procedure (“Rule(s)”) [Dkt. 11], and a default was correspondingly entered against the

Defendant on February 25, 2020 [Dkt. 13].

        3.     Since the Defendant has still failed to respond to Plaintiffs’ Complaint or

otherwise enter an appearance in this case, ABS-CBN filed Plaintiffs’ Motion for Entry

of a Final Default Judgment and Permanent Injunction against the Defendant, and

Memorandum of Law in Support [Dkt. 19] (“MDJ”) on August 12, 2020. ABS-CBN’s

MDJ is currently pending before the Court.

                          2. Discovery/Case Management Plan

        In light of the Defendant’s default as discussed above, ABS-CBN responds to the

information requested in the Courts Order [Dkt. 5] as follows:

1.      State when the parties conferred as required by Rule 26(f), and identify the
        counsel who conferred.

        In light of the Defendant’s default, there has been no Rule 26(f) conference.


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2.      List the cases related to this one that are pending in any state or federal court
        with the case number and court.

        None.

3.      Briefly describe what the case is about.

        In short, the Defendant is using counterfeits and infringements of ABS-CBN’s

trademarks in connection with his illegal promotion and sale of “Smart” TV boxes that

have been designed or modified to circumvent ABS-CBN’s encryption technology to

enable his customers to unlawfully intercept and access ABS-CBN’s copyrighted

programming without compensating ABS-CBN.

4.      Specify the allegation of federal jurisdiction.

        This Court has subject matter jurisdiction over the Federal Claims under 28 U.S.C.

§§ 1331, 47 U.S.C. § 605(e)(3)(A), and 15 U.S.C. § 1121. This Court has supplemental

jurisdiction over the State Claim under 28 U.S.C. § 1367.

5.      Name the parties who disagree and the reasons.

        None.

6.      List anticipated additional parties that should be included, when they can be
        added, and by whom they are wanted.

        None.

7.      List anticipated interventions.

        None.

8.      Describe class-action issues.

        None.



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9.      State whether each party represents that it has made the initial disclosures
        required by Rule 26(a). If not, describe the arrangements that have been
        made to complete the disclosures.

        In light of the Defendant’s default and ABS-CBN’s pending MDJ, ABS-CBN

does not anticipate that there will be any initial disclosures or other discovery conducted

in this case.

10.     Describe the proposed agreed discovery plan, including:

        A.      Responses to all the matters raised in Rule 26(f).

                See Response to No. 9.

        B. When and to whom the plaintiffs anticipates they may send
        interrogatories.

                See Response to No. 9.

        C. When and to whom the defendant anticipates he may send
        interrogatories.

                See Response to No. 9.

        D.      Of whom and by when the plaintiffs anticipate taking oral depositions.

                See Response to No. 9.

        E. Of whom and by whom the defendant anticipates taking oral
        depositions.

                See Response to No. 9.

        F. When the plaintiff (or the party with the burden of proof on an issue)
        will be able to designate experts and provide the reports required by Rule
        26(a)(2)(B), and when the opposing party will be able to designate responsive
        experts and provide their reports.


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             See Response to No. 9.

        G. List expert depositions the plaintiff (or the party with the burden of
        proof on     an issue) anticipates taking and their anticipated completion
        date. See Rule     26(a)(2)(B) (expert report).

             See Response to No. 9.

        H. List expert depositions the opposing party anticipates taking and their
        anticipated completion date. See Rule 26(a)(2)(B) (expert report).

             See Response to No. 9.

11.     If the parties are not agreed on a part of the discovery plan, describe the
        separate views and proposals of each party.

        See Response to No. 9.

12.     Specify the discovery beyond initial disclosures that has been undertaken to
        date.

        See Response to No. 9.

13.     State the date the planned discovery can be reasonably completed.

        See Response to No. 9.

14.     Describe the possibilities for a prompt settlement or resolution of the case
        that were discussed in your Rule 26(f) meeting.

        In light of the Defendant’s default, there have been no settlement discussions or

Rule 26(f) meeting, and no such discussions or meetings are anticipated.

15.     Describe what each party has done or agreed to do to bring about a prompt
        resolution.

        See Response to No. 14.

16.     From the attorneys’ discussion with the client, state the alternative dispute
        resolution techniques that are reasonably suitable, and state when such a
        technique may be effectively used in this case.

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        See Response to No. 14.

17.     Magistrate judges may now hear jury and non-jury trials.             Indicate the
        parties= joint position on a trial before a magistrate judge.

        In light of the Defendant’s default and ABS-CBN’s pending MDJ, ABS-CBN

does not anticipate any trial in this case.

18.     State whether a jury demand has been made and if was made on time.

        No jury demand was made.

19.     Specify the number of hours it will take to present the evidence in this case.

        See Response to No. 17.

20.     List pending motions that could be ruled on at the initial pretrial and
        scheduling conference.

        ABS-CBN’s MDJ is currently pending.

21.     List other motions pending.

        See Response to No. 20. There are no other pending motions.

22.     Indicate other matters peculiar to this case, including discovery, that deserve
        the special attention of the court at the conference.

        There are no such matters.

23.     Certify that all parties have filed Disclosure of Interested Parties as directed
        in the Order for Conference and Disclosure of Interested Parties, listing the
        date of filing for original and any amendments.

        Plaintiffs filed their Disclosure Statement [Dkt. 2] on December 5, 2019, and their

Certificate of Interested Parties [Dkt. 10] on January 24, 2020.




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24.     List the names, bar numbers, addresses and telephone numbers of all counsel.

        For Plaintiffs:

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Dated: August 12, 2020                  Respectfully submitted,

                                        BY: s/Steven M. Abbott
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